. Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.1 Filed 01/11/23 Page 1 of 19 ] 7

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Case: 2:23-cr-20022
UNI AME Assigned To : Steeh, George Caram
TED STATESOF RICA Referral Judge: Patti, Anthony P.
Assign. Date : 1/11/2023 2:49 PM
Description: INDI USA V. SEALED MATTER (DA)

 

V.
D-1 MOHAMED KAZKAZ, VIO: 18 U.S.C. § 1349
D-2 ZIAD KHALEL, 18 U.S.C. § 2
Defendants. 18 U.S.C. § 1957
/ 18 U.S.C. § 982
18 U.S.C. § 371

42 U.S.C. § 1320a-7b
18 U.S.C. § 1957
INDICTMENT
THE GRAND JURY CHARGES:
GENERAL ALLEGATIONS
At all times relevant to this Indictment:
The Medicare Program
1. The Medicare program was a federal health care program providing

benefits to persons who were 65 or older or disabled. Medicare was administered by
the Centers for Medicare and Medicaid Services (“CMS”), a federal agency under
the United States Department of Health and Human Services. Individuals who

received benefits under Medicare were referred to as Medicare “beneficiaries.”

 
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.2 Filed 01/11/23 Page 2 of 19

2. Medicare was a “health care benefit program,” as defined by Title 18,
United States Code, Section 24(b), and a “Federal health care program,” as defined
by Title 42, United States Code, Section 1320a-7b(f).

3. Medicare included coverage under two primary components, hospital
insurance (“Part A”) and medical insurance (“Part B”). Medicare Part B covered the
costs of medical insurance, including physician, nursing, and other ancillary services
not covered by Part A. The services at issue in this Information were covered by
Part B.

4. CoventBridge Group was the Zone Program Integrity Contractor
(“ZPIC”), and as such, it was the Medicare contractor charged with investigating
fraud, waste, and abuse, during the relevant time period.

5. To participate in Medicare, providers were required to submit
applications in which the providers agreed to comply with all Medicare-related
policies and procedures, rules, and regulations issued by CMS and its agents and
contractors, including those governing reimbursement, and furthermore, certified
that they would not knowingly present, or cause to be presented, false and fraudulent
claims.

6. If Medicare approved a provider’s application, Medicare assigned the
provider a Medicare “provider number,” which was used for the processing and

payment of claims.
 

Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.3 Filed 01/11/23 Page 3 of 19

7. Local Coverage Determinations (“LCDs”), as defined by the Social
Security Act, were decisions made by a Medicare Administrative Contractor
(“MAC”) on whether a particular service or item was reasonable and necessary, and
therefore covered by Medicare within the specific region that the MAC oversaw.
LCDs 34616 and 30489 were titled “Psychiatry and Psychological Services” and
applied to the primary geographical jurisdiction of Michigan. These LCDs specified
that Medicare coverage of psychotherapy did not include teaching grooming skills,
monitoring activities of daily living (“ADL”), recreational therapy (dance, art, play),
or social interaction. It also did not include oversight activities such as house or
financial management. LCD A54829, entitled “Clinical Social Worker Services,”
stated that services furnished as an “incident to” clinical social work (“CSW”)
personal professional services were not covered.

8. Providers were given, and provided with online access to, Medicare
manuals and services bulletins describing proper billing procedures and billing rules
and regulations. Providers could only submit claims to Medicare for services they
rendered, and providers were required to maintain patient records to verify that the
services were provided as described on the claim form. These records were required
to be sufficient to permit Medicare, through its contractors, to review the

appropriateness of Medicare payments made to the health care provider.

 

 
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.4 Filed 01/11/23 Page 4 of 19

9. To receive reimbursement for a covered service from Medicare, a
provider was required to submit a claim, either electronically or using a form (e.g.,
a CMS-1500 form or UB-92), to the Medicare contractor or carrier containing the
required information appropriately identifying the provider, beneficiary, and
services rendered.

10. Medicare only covered services that were both medically necessary and

rendered as billed.

Federal Anti-Kickback Statute Compliance

11. Asa requirement to enroll as a Medicare provider, Medicare required
providers to agree to abide by Medicare laws, regulations, and program instructions.
Medicare further required providers to certify that they understood that a payment
of a claim by Medicare was conditioned upon the claim and the underlying
transaction complying with these laws, regulations, and program instructions,
including the Federal Anti-Kickback Statute. Accordingly, Medicare would not pay
claims procured through kickbacks and bribes.

The Related Businesses

12. Centre was a Michigan corporation doing business at 34600 West

Twelve Mile Road, Farmington Hill, 48331. Centre was enrolled as a participating

Medicare provider and submitted claims to Medicare. Centre was a psychotherapy

 
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.5 Filed 01/11/23 Page 5 of 19

agency that purportedly provided individual and group psychotherapy sessions to
patients.
The Defendants and Related Entities

13. MOHAMED KAZKAZ was a resident of Oakland County, Michigan.
KAZKAZ was the controller, operator, resident agent of Centre. KAZKAZ was the
sole signatory on the bank accounts into which Medicare reimbursements to Centre
was deposited.

14. ZIAD KHALEL was a resident of Oakland County, Michigan, and was
a patient recruiter for Centre. KHALEL was the controller, operator, and resident
agent of URUK, a limited liability company, registered in the State of Michigan.
KHALEL was also the controller, operator, and resident agent of IPACK, a limited
liability company, registered in the State of Michigan.

15. Individual A was a resident of Oakland County, Michigan, and
operated a home health agency in Dearborn, Michigan, that purportedly provided
in-home physical therapy, occupational therapy, and skilled nursing services to
patients.

Count]
Conspiracy to Commit Health Care Fraud
(18 U.S.C. § 1349)

D-1 MOHAMED KAZKAZ
D-2 ZIAD KHALEL
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.6 Filed 01/11/23 Page 6 of 19

16. Paragraphs 1 through 15 of this Indictment are realleged and
incorporated by reference as though fully set forth herein.

17. From in or around January 2018 and continuing through in or around
January 2023, in Oakland Counties, in the Eastern District of Michigan, and
elsewhere, MOHAMED KAZKAZ, ZIAD KHALEL, and others, did willfully and
knowingly combine, conspire, confederate, and agree with each other and others,
known and unknown to the Grand Jury, to commit certain offenses against the
United States, that is:

a. to violate Title 18, United States Code, Section 1347, that is, to
knowingly and willfully execute a scheme and artifice to defraud a health care
benefit program affecting commerce, as defined in Title 18, United States
Code, Section 24(b), that is, Medicare, and to obtain, by means of materially
false and fraudulent pretenses, representations, and promises, money and
property owned by, and under the custody and control of, said health care
benefit program, in connection with the delivery of and payment for health
care benefits, items, and services; and

b. to violate Title 18, United States Code, Section 1343, that is, to
knowingly and with the intent to defraud, devise and intend to devise a scheme

and artifice to defraud and to obtain money and property by means of

materially false and fraudulent pretenses, representations, and promises,

 

 
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.7 Filed 01/11/23 Page 7 of 19

knowing that the pretenses, representations, and promises were false and

fraudulent when made, and did knowingly transmit and cause to be

transmitted, by means of wire communication in interstate commerce,

writings, signs, signals, pictures, and sounds for the purpose of executing such

scheme and artifice.

Purpose of the Conspiracy

18. It was the purpose of the scheme and artifice for the defendants to
unjustly enrich themselves by, among other things: (a) submitting and causing the
submission of false and fraudulent claims to Medicare for services that were
medically unnecessary and not eligible for reimbursement; (b) offering, paying,
soliciting, and receiving kickbacks and bribes for the purpose of arranging for the
use of Medicare beneficiary information as the bases of claims submitted for
psychotherapy services; (c) concealing the submission of false and fraudulent claims
to Medicare, and the receipt and transfer of the proceeds of the fraud; and (d)
diverting proceeds of the fraud for their personal use and benefit.

The Manner and Means of the Conspiracy

19. The manner and means by which the defendants sought to accomplish
the objects and purpose of the conspiracy included, among other things:

20. MOHAMED KAZKAZ certified to Medicare that he would comply

with all Medicare rules and regulations, and federal laws, including that he would
 

Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.8 Filed 01/11/23 Page 8 of 19

not knowingly present or cause to be presented a false and fraudulent claim for
payment by Medicare and that he would refrain from violating the Anti-Kickback
Statute.

21. MOHAMED KAZKAZ owned and controlled a psychotherapy agency,
Centre, for the purpose of submitting false and fraudulent claims to Medicare
seeking reimbursement for psychotherapy services that were not provided or were
otherwise not eligible for reimbursement and whose Medicare identification
numbers were procured through kickback and bribes.

22. MOHAMED KAZKAZ offered and provided kickbacks and bribes to
ZIAD KHALEL, and others, as an inducement to refer Medicare beneficiaries to
Centre for psychotherapy services, even though such services were medically
unnecessary and were never rendered.

23. The Medicare beneficiaries referred to KAZKAZ by KHALEL were
patients of Individual A’s home health agency and were not, in fact, in need of
psychotherapy services. KHALEL would require the recruited Medicare
beneficiaries to sign blank Centre sign-in sheets to allow KAZKAZ to submit claims
to Medicare, through Centre, for psychotherapy services that were never rendered.

24. MOHAMED KAZKAZ, ZIAD KHALEL and others submitted and
caused Centre to submit false and fraudulent claims, through interstate wires, to

Medicare for psychotherapy services purportedly rendered to Medicare
 

Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.9 Filed 01/11/23 Page 9 of 19

beneficiaries, when in truth and in fact, such psychotherapy services were never
rendered, were not medically necessary, and were not eligible for Medicare
reimbursement. As a result of these false and fraudulent claims submitted to
Medicare through interstate wires, Medicare made payments to Centre in an amount
in excess of $4.3 million dollars.
All in violation of Title 18, United States Code, Section 1349.
Count 2
Conspiracy to Pay and Receive Health Care Kickbacks
(18 U.S.C. § 371)

D-1 MOHAMED KAZKAZ
D-2 ZIAD KHALEL

25. Paragraphs | through 15 and 17 through 24 of this Indictment are
realleged and incorporated by reference as though fully set forth herein.

26. From at least in or around January 2018, and continuing through in or
around January 2023, the exact dates being unknown, in Oakland and Wayne
Counties, in the Eastern District of Michigan, and elsewhere, the Defendants,
MOHAMED KAZKAZ, ZIAD KHALEL, did willfully and knowingly conspire and
agree with each other and others, known and unknown to the Grand Jury, to commit
certain offenses against the United States, that is,

a. to violate Title 42, United States Code, Section 1320a-7b(b){1)(A), by
knowingly and willfully soliciting and receiving any remuneration

(including any kickback, bribe, and rebate) directly and indirectly,

9
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.10 Filed 01/11/23 Page 10 of 19

27.

overtly and covertly, in cash and in kind, in return for referring an
individual to a person for the furnishing and arranging for the furnishing
of any item and service for which payment may be made in whole and
in part by Medicare, a Federal health care program as defined in Title

18, United States Code, Section 24(b); and

. to violate Title 42, United States Code, Section 1320a-7b(b)(2)(A), by

knowingly and willfully offering and paying any remuneration
(including any kickback, bribe, and rebate) directly and indirectly,
overtly and covertly, in cash and in kind in return for referring an
individual to a person for the furnishing and arranging for the furnishing
of any item and service for which payment may be made in whole and
in part by Medicare, a Federal health care program as defined in Title
18, United States Code, Section 24(b).
Purpose of the Conspiracy

It was a purpose of the conspiracy for the defendant and his co-

conspirators to unjustly enrich themselves by: (1) offering, paying, soliciting, and

receiving kickbacks and bribes in return for Medicare beneficiary referrals; and (2)

submitting and causing the submission of claims to Medicare for purported

psychotherapy services provided to those recruited beneficiaries.

Manner and Means of the Conspiracy

10

 
 

Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.11 Filed 01/11/23 Page 11 of 19

28. The manner and means by which the defendants and others sought to
accomplish the objects and purpose of the conspiracy included, among other things,
the following:

29. MOHAMED KAZKAZ paid and caused the payment of illegal
kickbacks and bribes to ZIAD KHALEL, and others in exchange for referring
Medicare beneficiaries and providing Medicare beneficiary information that
KAZKAZ used to support the submission of claims to Medicare, through Centre, for
purported psychotherapy services.

30. MOHAMED KAZKAZK, ZIAD KHALEL, and others disguised and
concealed the kickbacks and bribes to KHALEL and others through KHALEL’s
company.

31. MOHAMED KAZKAZ wrote checks to ZIAD KHALEL’s company
from bank accounts, including JP Morgan Chase Bank checking account ending in
x0690. ZIAD KHALEL would in turn pay the recruited Medicare beneficiaries in
cash and checks from his company with proceeds from the checks he received as
compensation for recruiting and referring Medicare beneficiaries to Centre.

Overt Acts

32. In furtherance of the conspiracy, and to accomplish its objects and

purpose, at least one of the conspirators committed, or caused to be committed, in

11

 
 

Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.12 Filed 01/11/23 Page 12 of 19

the Eastern District of Michigan, at least one of the following overt acts, among
others:

33. On August 3, 2018, MOHAMED KAZKAZ, paid and caused the
payment of approximately $400.00 to ZIAD KHALEL in the form of check number
0117, drawn on JP Morgan Chase Bank checking account x0690, held in the name
of Centre, made payable to KHALEL, in exchange for referring Medicare
beneficiaries and providing Medicare beneficiary information.

34. On February 10, 2022 MOHAMED KAZKAZ, paid and caused the
payment of approximately $10,000 to ZIAD KHALEL in the form of check number
0697, drawn on JP Morgan Chase Checking Account x0690 held in the name of
Centre, made payable to KHALEL’s company, in exchange for referring Medicare
beneficiaries and providing Medicare beneficiary information.

35. Onor about June 11, 2021, ZIAD KHALEL met with M.H. a recruited
Medicare beneficiary, and requested M.H. sign blank Centre sign-in sheets.

36. On June 29, 2021, MOHAMED KAZKAZ, paid and caused the
payment of approximately $7,350.00 to ZIAD KHALEL in the form of check
number 0291, drawn on JP Morgan Chase Bank checking account x0690, held in the
name of Centre, made payable to KHALEL’s company IPACK, in exchange for

referring Medicare beneficiaries and providing Medicare beneficiary information.

12

 
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.13 Filed 01/11/23 Page 13 of 19

37. On or about November 15, 2021, ZIAD KHALEL met with N.M. a
recruited Medicare beneficiary, and requested N.M. sign blank Centre sign-in sheets.

38. On or about November 15, 2021, ZIAD KHALEL met with K.M. a
recruited Medicare beneficiary, and requested K.M. sign blank Centre sign-in sheets.

39. On November 3, 2021, ZIAD KHALEL, paid and caused the payment
of approximately $100.00 to M.H. a recruited Medicare beneficiary in the form of
check number 2081, drawn on Flagstar Bank Checking Account x3128, held in the
name of IPACK, made payable to M.H. as compensation for signing blank Centre
sign-in sheets.

All in violation of Title 18, United States Code, Section 371.

Counts 3-4
42 U.S.C. § 1320a-7b(b)(2)(A)}—Payment of Kickbacks and Bribes in

Connection with a Federal Health Care Program

D-1 MOHAMED KAZKAZ
D-2 ZIAD KHALEL

40. Paragraphs 1 through 15, 17 through 24 and 28 through 31 of this
Indictment are re-alleged and incorporated by reference as though fully set forth
herein.

41. Onor about the dates set forth below, in Oakland County, in the Eastern
District of Michigan, and elsewhere, MOHAMED KAZKAZ and ZIAD KHALEL,
did knowingly and willfully offer and pay remuneration, that is, kickbacks and

bribes, directly and indirectly, overtly and covertly, in cash and in kind, including

13

 
 

Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.14 Filed 01/11/23 Page 14 of 19

by check, to any person to induce such person to refer an individual to a person for
the furnishing and arranging for the furnishing of any item and service for which
payment may be made in whole and in part under a Federal health care program, that

is, Medicare, as set forth below:

ONT BND DRONE Ls
WCE!

AND I RNCIIP Com PKG

Orin puta m elec

Om A

 

August 3, 2018 Check | KHALEL |CENTREHRW| — ¢400,00

 

February 10,2022 | Check |!PACK LLC} CENTRE HRW| 19 900,00

 

 

 

 

 

 

 

 

All in violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A),

and Title 18, United States Code, Section 2.
COUNTS 5 - 6
Engaging In Monetary Transactions Exceeding $10,000 in
Criminally Derived Property

(18 USC § 1957)
D-1 MOHAMED KAZKAZ

Paragraphs | through 15 of the General Allegations of the Indictment are
realleged and incorporated by reference as though fully set forth herein.

11. Onor about the dates set forth below, in the Eastern District of
Michigan, and elsewhere, defendant MOHAMED KAZKAZ did knowingly

engage or attempt to engage in the following monetary transactions, by and

14

 
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.15 Filed 01/11/23 Page 15 of 19

through a financial institution, affecting interstate or foreign commerce, in
criminally derived property of a value greater than $10,000, that is the, transfer of
funds, such property having been derived from a specified unlawful activity,

specifically wire fraud:

 

 

COUNT DATE (On or about) | TRANSFER AMOUNT
5 January 25, 2022 $70,000 to JP Morgan
Chase Bank Account No.
X609 held in the name of
Kaz Kaz Art Gallery,

LLC. (Online
transaction number
X278)

6 December 28, 2021 $55,000 to JP Morgan

Chase Bank Account No.
X616 held in the name of
Kaz Karing Homes, LLC.

(Online transaction
number X413)

 

 

 

 

 

 

FORFEITURE ALLEGATIONS
FORFEITURE ALLEGATIONS
(18 U.S.C. § 982(a)(7); 18 U.S.C. § 982(a)(1) - Criminal Forfeiture)
44. The allegations contained in this Indictment are incorporated by
reference as if set forth fully herein for the purpose of alleging forfeiture pursuant to

the provisions of Title 18, United States Code, Section 982.

15

 
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.16 Filed 01/11/23 Page 16 of 19

45. As aresult of the violations alleged in Counts 1 through 4, as set forth
in this Indictment, Defendants MOHAMED KAZKAZ and ZIAD KHALEL shall
forfeit to the United States, pursuant to Title 18, United States Code, Section
982(a)(7), any property, real or personal, that constitutes or is derived, directly or
indirectly, from gross proceeds traceable to the commission of the offense(s).

46. Asa result of the violations alleged in Counts 5 and 6, as set forth in
this Indictment, Defendants MOHAMED KAZKAZ and ZIAD KHALEL shall
forfeit to the United States, pursuant to Title 18, United States Code, Section
982(a)(1):

e any property, real or personal, that constitutes or is derived, directly or
indirectly, from gross proceeds traceable to the commission of
Defendants’ Title 18, United States Code, Sections 1349 and 371, and
Title 42, United States Code, Section 1320a-7b offenses; and

e any property, real or personal, involved in a transaction or attempted
transaction in violation of Title 18, United States Code, Section 1957,
or any property traceable to such property

46. Substitute Assets: If the property described above as being subject to
forfeiture, as a result of any act or omission of the Defendant:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third party;

16

 
C. Has been placed beyond the jurisdiction of the Court;

d. Has been substantially diminished in value; or
e. Has been commingled with other property that cannot be subdivided
without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p) as incorporated by Title 18, United States Code, Section 982(b), to seek to
forfeit any other property of Defendant(s), up to the value of the forfeitable property
described above.

47. Money Judgment: The government shall also seek a forfeiture money
judgment from Defendants for a sum of money representing the total amount of
proceeds obtained as a result of Defendant’s violations of United States Code,

Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.17 Filed 01/11/23 Page 17 of 19
Sections 1349 and 371, and Title 42, United States Code, Section 1320a-7b offenses,

17
 

Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.18 Filed 01/11/23 Page 18 of 19

as alleged in this Indictment.

THIS IS A TRUE BILL. s/Grand Jury Foreperson
Grand Jury Foreperson

DAWN N. ISON
United States Attorney

s/REGINA MCCULLOUGH
REGINA MCCULLOUGH
Chief, Health Care Fraud Unit
Assistant United States Attorney
211 W. Fort St., Suite 2001
Detroit, MI 48226

(313) 226-9618
regina.mccullough@usdo}j.gov

Date: JAN 4 1 2023

18
Case 2:23-cr-20022-GAD-APP ECF No. 1, PagelD.19 Filed ORIGINAL

Case: 2:23-cr-20022

United States District Court Criminal Case Cove Assigned To : Steeh, George Caram
Eastern District of Michigan Referral Judge: Patti, Anthony P.

Assign. Date : 1/11/2023 2:49 PM
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to comple Description: INDI USA V. SEALED MATTER (DA)

 

 

 

 
   

 

=| Companion Case Number:

 

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:

Ll yes No AUSA’s Initials: CHW \
~

Case Title: USA v. MOHAMED KAZKAZ, et al.

 

 

 

 

County where offense occurred : Oakland

Check One:  [X|Felony [JMisdemeanor ClPetty
Y¥_Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Thais

ing Casediformation

 

Superseding to Case No: Judge:

 

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

   
 

January 11, 2023

Date R\McCullough

nttinited States
ort Street, Huite 2001
Detroit, MI 48226-
Phone:313-226-9618

Fax: 313-226-2621

E-Mail address: regina.mccullough@usdoj.gov
Attorney Bar #; P64936

  
  

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

5/16
